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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AAS/RMP                                              271 Cadman Plaza East
F. #2021R00600                                       Brooklyn, New York 11201




                                                     November 22, 2024

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By Email and ECF


                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

              This letter will be accompanied by a link, sent by separate e-mail, to the secure
download of certain discovery materials produced pursuant to Rule 16 of the Federal Rules of
Criminal Procedure. The government renews its request for reciprocal discovery from the
defendants.

                The following documents were obtained by the government during the course of
the investigation:

 Bates No.                                        Description of Item

 EDNY-017380-EDNY-022256                          Records from American Express

 EDNY-022257-EDNY-024806                          Records from Bank of America
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 Bates No.                                 Description of Item

 EDNY-024807-EDNY-025379                   Records from Barclays Bank

 EDNY-025301-EDNY-025579                   Records from Capital One Bank

 EDNY-025552-EDNY-025686                   Records from Cathay Bank

 EDNY-025682-EDNY-025696                   Records from CHIPS

 EDNY-025697-EDNY-032696                   Records from Citibank

 EDNY-032696-EDNY-032779                   Records from Coinbase

 EDNY-032767-EDNY-032776                   Records from Deutsche Bank

 EDNY-032771-EDNY-032896                   Records from Equifax

 EDNY-032895-EDNY-032979                   Records from Experian

 EDNY-032928-EDNY-032936                   Records from Federal Reserve

 EDNY-032930-EDNY-033036                   Records from HSBC Bank

 EDNY-033037-EDNY-033179                   Records from JP Morgan Chase Bank

 EDNY-033126-EDNY-035186                   Records from Merrill Lynch

 EDNY-035182-EDNY-035226                   Records from PayPal

 EDNY-035228-EDNY-035479                   Records from Robinhood

 EDNY-035492-EDNY-035479                   Records from Standard Chartered Bank

 EDNY-035493-EDNY-037826                   Records from TD Bank

 EDNY-037826-EDNY-037856                   Records from Transunion

 EDNY-037851-EDNY-037879                   Records from Venmo

 EDNY-037853-EDNY-037856                   Records from Wells Fargo

 EDNY-037856-EDNY-037875                   Records from Zelle




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               In addition, please find the following materials produced in accordance with Rule
16 of the Federal Rules of Criminal Procedure, which are contained on encrypted hard drives
produced separately to counsel for the respective defendant.


 Bates No.                                          Description of Item

 EDNY-037876                                        Responsive Report for             Gmail
                                                    Account

 EDNY-037877                                        Responsive Report for           Gmail
                                                    Account

 EDNY-037878                                        Responsive Report for an Electronic Device
                                                    of the Person Identified in the Indictment as
                                                    “Company-1 Owner”

 EDNY-037879                                        Responsive Report for Chris Hu’s iPhone 14
                                                    Pro Max

 EDNY-037880                                        Responsive Report for Linda Sun’s iPhone 14
                                                    Pro



              You may examine the physical evidence discoverable under Rule 16, including
original documents and items, by calling us to arrange a mutually convenient time.



                                                      Very truly yours,

                                                      BREON PEACE
                                                      United States Attorney

                                            By:        /s/ Alexander A. Solomon
                                                      Alexander A. Solomon
                                                      Robert M. Pollack
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000

cc:    Clerk of the Court (BMC) (by ECF) (without download link)




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